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                                                                                 2020 Dec-29 AM 09:26
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

DANA MICHELLE FLIPPO,                        )
                                             )
       Petitioner,                           )
                                             )
v.                                           )     Case No. 7:20-cv-1298-LSC-GMB
                                             )
WARDEN CHAD GARRETT,                         )
                                             )
       Respondent.                           )

                          MEMORANDUM OPINION

      On November 23, 2020, the Magistrate Judge entered a report recommending

that the court dismiss Petitioner Dana Michelle Flippo’s 28 U.S.C. § 2241 petition

for writ of habeas corpus. Doc. 12.              Petitioner objects to the report and

recommendation on the basis that § 2241 is the correct avenue to challenge her

confinement and asks that the court grant the petition because she faces a risk of

severe illness from COVID-19 based on her medical condition. Doc. 13.

      The court OVERRULES Petitioner’s objections. First, the Magistrate Judge

found that Petitioner’s filing was properly considered to be a § 2241 petition. Doc.

12 at 4. Second, the Magistrate Judge correctly concluded that Petitioner is not

entitled to habeas relief. Doc. 12 at 6–8. Accordingly, the court ADOPTS the report

and ACCEPTS the recommendation to dismiss Petitioner’s § 2241 petition without

prejudice.

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The court will enter a separate final order consistent with this opinion.

DONE and ORDERED on December 29, 2020.



                                        _____________________________
                                                L. Scott Coogler
                                           United States District Judge
                                                                            160704




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